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5    Attorneys for Plaintiff
     United States of America
6
                                   IN THE UNITED STATES DISTRICT COURT
7
                                        EASTERN DISTRICT OF CALIFORNIA
8
     UNITED STATES OF AMERICA,                             CASE NO. 1:16-CR-00200 LJO
9
                                  Plaintiff,               STIPULATION TO CONTINUE CHANGE OF PLEA
10                                                         HEARING
                            v.
11
     EFRAIN VALENCIA, AND
12   JORGE NOE TORRES HERNANDEZ

13                                Defendants.

14

15          IT IS HEREBY STIPULATED by and between Phillip A. Talbert, United States Attorney and

16   Kimberly A. Sanchez, Assistant U.S. Attorney and Michael Grahn and Ernest Lutz, attorneys for the

17   defendants, that the change of plea hearing set for November 27, 2017 at 8:30 am before the Honorable

18   Lawrence J. O’Neill be continued to December 11, 2017 at 8:30 a.m. Mr. Grahn, who is Counsel for Mr.

19   Torres-Hernandez, has worked diligently on a plea agreement with the Government, but this process was

20   substantially slowed by counsel’s recent knee injuries which precluded travel to Fresno for several

21   weeks. The defense and the Government have recently made great progress in discussions of a revised plea

22   agreement, and expect the matter will be resolved imminently. Mr. Lutz would like to enter his client’s

23   change of plea at the same time as the co-defendant, and he needs additional time to finalize the plea

24   agreement. The parties are also near finalizing a resolution of Mr. Valenicia’s case.

25          The parties further request the Court to enter an Order finding that the "ends of justice" served by a

26   continuance outweigh the interest of the public and the defendant in a speedy trial, and that the delay through

27   December 11, 2017 is excluded from the Act's time limits pursuant to 18 U.S.C. § 3161(h)(7)(A).

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       Stipulation                                          1
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1          Dated: November 21, 2017                   Respectfully submitted,

2                                                     PHILLIP A. TALBERT
                                                      United States Attorney
3

4
                                              By      /s/ Kimberly A. Sanchez
5                                                     KIMBERLY A. SANCHEZ
                                                      Assistant U.S. Attorney
6
           Dated: November 21, 2017                   /s/ Michael Grahn
7                                                     MICHAEL GRAHN
                                                      Attorney for Defendant Hernandez
8
           Dated: November 21, 2017                   /s/ Ernest Lutz
9
                                                      ERNEST LUTZ
10                                                    Attorney for Defendant Valencia

11
     IT IS SO ORDERED.
12
        Dated:      November 21, 2017             /s/ Lawrence J. O’Neill _____
13                                      UNITED STATES CHIEF DISTRICT JUDGE
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      Stipulation                             2
